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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                           ENTERED
                                                                                                                07/06/2021
                                                                )
    In re:                                                      )
                                                                ) Chapter 11
    NEIMAN MARCUS GROUP LTD LLC, et al., 1                      )
                                                                ) Case No. 20-32519 (DRJ)
                      Reorganized Debtors.                      )
                                                                ) (Jointly Administered)
                                                                )

                 ORDER SUSTAINING LIQUIDATING TRUSTEE’S
       TWENTY-FIFTH OMNIBUS OBJECTION TO CLAIMS (RESOLVED CLAIMS)
                           (Related Docket No. 2502)

             Upon the Objection2 of the Liquidating Trustee seeking entry of an order (the “Order”)

disallowing and expunging the claims identified on Schedule 1 attached hereto, it is HEREBY

ORDERED THAT:

             1.      The Objection is sustained as set forth herein.

             2.      Each claim identified on Schedule 1 to this Order is (i) disallowed in its entirety or

(ii) reduced and allowed, as set forth in Schedule 1 to this Order.




1
      The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
      federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530);
      Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa
      Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation
      (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc.
      (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG
      Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons
      LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The
      Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company
      (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Liquidating
      Trustee’s Twenty-Fifth Omnibus Objection to Claims (Resolved Claims).


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        3.       Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) is authorized and

directed to update the claims register maintained in these chapter 11 cases to reflect the relief

granted in this Order.

        4.       Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each claim identified on Schedule 1.

        5.       Nothing in this Order affects administrative, secured, or priority amounts in the

claims identified on Schedule 1, and the Reorganized Debtors reserve the right to object to the

administrative, secured, or priority amounts on any basis whatsoever.

        6.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity or such Debtor entity’s estate; (b) a waiver of any party’s

right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay any

prepetition claim; (d) an implication or admission that any particular claim is of a type specified

or defined in this Objection or any order granting the relief requested by this Objection; (e) a

request or authorization to assume any prepetition agreement, contract, or lease pursuant to section

365 of the Bankruptcy Code; or (f) a waiver of the Liquidating Trustee’s rights under the

Bankruptcy Code or any other applicable law.

        7.       The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.




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        8.       The Liquidating Trustee, Stretto, and the Clerk of the Court are authorized to take

all actions necessary to effectuate the relief granted pursuant to this Order in accordance with the

Objection.

        9.       This Court shall retain exclusive jurisdiction to resolve any dispute arising from or

related to this Order.


 Date:Signed: July 06, 2021.              , 2021

                                                     ____________________________________
                                                      THE HONORABLE DAVID R. JONES
                                                     DAVID
                                                      CHIEFR.UNITED
                                                              JONES STATES BANKRUPTCY
                                                     UNITED
                                                      JUDGE  STATES BANKRUPTCY JUDGE




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                                    Schedule 1




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           Name of                       Schedule /                                                                                      Reason for
Ref #                   Debtor Name                   Date Filed             Claim Amount               Allowed Claim Amount
           Claimant                       Claim #                                                                                        Objection
                                                                   Administrative: $0.00           Administrative: $0.00
                                                                   Secured: $0.00                  Secured: $0.00                  Expunge general
                        The Neiman                                 Priority: $0.00                 Priority: $0.00                 unsecured amounts as the
        WILLIS TOWERS
  1                     Marcus Group    1973          7/20/2020    General Unsecured: $79,776.03   General Unsecured: $0.00        Debtors are not liable
        WATSON
                        LLC                                                                                                        because the claim has
                                                                   Total: $79,776.03               Total: $0.00                    been resolved

                                                                   Administrative: $0.00           Administrative: $0.00
                                                                   Secured: $0.00                  Secured: $0.00
                                                                                                                                   Reduce general unsecured
                                                                   Priority: $0.00                 Priority: $0.00
        XEROX           Neiman Marcus                                                                                              amounts as the Debtors are
  2                                     3332          11/11/2020   General Unsecured: $83,117.58   General Unsecured: $10,000.00
        CORPORATION     Group LTD LLC                                                                                              not fully liable because the
                                                                                                                                   claim has been resolved
                                                                   Total: $83,117.58               Total: $10,000.00

                                                                   Administrative: $0.00           Administrative: $0.00
                                                                   Secured: $0.00                  Secured: $0.00                  Expunge general
                        The Neiman                                 Priority: $0.00                 Priority: $0.00                 unsecured amounts as the
        TABLEAU
  3                     Marcus Group    221971                     General Unsecured: $87,466.00   General Unsecured: $0.00        Debtors are not liable
        SOFTWARE INC
                        LLC                                                                                                        because the claim has
                                                                   Total: $87,466.00               Total: $0.00                    been resolved




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